Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 1 of 6
Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 2 of 6
Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 3 of 6
Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 4 of 6
Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 5 of 6
Case 22-10770-pmm   Doc 2   Filed 03/29/22 Entered 03/29/22 09:55:30   Desc Main
                            Document     Page 6 of 6
